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                                                                   FILED: November 7, 2019

                                UNITED STATES COURT OF APPEALS
                                    FOR THE FOURTH CIRCUIT

                                         ___________________

                                              No. 19-2242
                                         (8:18-cv-00883-PWG)
                                         ___________________

        AMERICAN ACADEMY OF PEDIATRICS; MARYLAND CHAPTER- AMERICAN
        ACADEMY OF PEDIATRICS; AMERICAN CANCER SOCIETY CANCER ACTION
        NETWORK; AMERICAN HEART ASSOCIATION; AMERICAN LUNG
        ASSOCIATION; CAMPAIGN FOR TOBACCO-FREE KIDS; TRUTH INITIATIVE; DR.
        LEAH BRASCH, MD; DR. CYNTHIA FISHMAN, MD; DR. LINDA GOLDSTEIN, MD;
        DR. STEVEN HIRSCH, MD; DR. DAVID MYLES, MD

                    Plaintiffs - Appellees

         v.

        AMERICAN E-LIQUID MANUFACTURING STANDARDS ASSOCIATION;
        AMERICAN VAPING ASSOCIATION; SMOKE-FREE ALTERNATIVES TRADE
        ASSOCIATION- CALIFORNIA; ARIZONA SMOKE FREE BUSINESS ALLIANCE;
        SMOKE-FREE ALTERNATIVES TRADE ASSOCIATION- CONNECTICUT; INDIANA
        SMOKE FREE ASSOCIATION; SMOKE-FREE ALTERNATIVES TRADE
        ASSOCIATION- HAWAII; IOWANS FOR ALTERNATIVE TO SMOKING AND
        TOBACCO; SMOKE-FREE ALTERNATIVES TRADE ASSOCIATION- LOUISIANA;
        KENTUCKY SMOKE FREE ASSOCIATION; SMOKE-FREE ALTERNATIVES TRADE
        ASSOCIATION- RHODE ISLAND; MARYLAND VAPOR ALLIANCE; SMOKE-FREE
        ALTERNATIVES TRADE ASSOCIATION- TEXAS; NEW YORK STATE VAPOR
        ASSOCIATION; SMOKE-FREE ALTERNATIVES TRADE ASSOCIATION-
        WISCONSIN; OHIO VAPOR TRADE ASSOCIATION; RIGHT TO BE SMOKE-FREE
        COALITION; SMOKE FREE ALTERNATIVES TRADE ASSOCIATION; TENNESSEE
        SMOKE FREE ASSOCIATION; TEXAS VAPOR COALITION

                   Appellants

        and

        UNITED STATES FOOD AND DRUG ADMINISTRATION; NORMAN E.
        SHARPLESS, in his official capacity as Acting Commissioner of Food and Drugs; UNITED
        STATES DEPARTMENT OF HEALTH AND HUMAN SERVICES; ALEX M. AZAR, II,
        in his Official capacity as Secretary of Health and Human Services
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                       Defendants


        This case has been opened on appeal.

        Originating Court            United States District Court for the District of Maryland
                                     at Greenbelt
        Originating Case Number      8:18-cv-00883-PWG
        Date notice of appeal filed in 07/30/2019
        originating court:
        Appellant(s)                 AMERICAN E-LIQUID MANUFACTURING STANDARDS
                                     ASSOCIATION; AMERICAN VAPING ASSOCIATION; SMOKE-
                                     FREE ALTERNATIVES TRADE ASSOCIATION- CALIFORNIA;
                                     ARIZONA SMOKE FREE BUSINESS ALLIANCE; SMOKE-FREE
                                     ALTERNATIVES TRADE ASSOCIATION- CONNECTICUT;
                                     INDIANA SMOKE FREE ASSOCIATION; SMOKE-FREE
                                     ALTERNATIVES TRADE ASSOCIATION- HAWAII; IOWANS FOR
                                     ALTERNATIVE TO SMOKING AND TOBACCO; SMOKE-FREE
                                     ALTERNATIVES TRADE ASSOCIATION- LOUISIANA;
                                     KENTUCKY SMOKE FREE ASSOCIATION; SMOKE-FREE
                                     ALTERNATIVES TRADE ASSOCIATION- RHODE ISLAND;
                                     MARYLAND VAPOR ALLIANCE; SMOKE-FREE ALTERNATIVES
                                     TRADE ASSOCIATION- TEXAS; NEW YORK STATE VAPOR
                                     ASSOCIATION; SMOKE-FREE ALTERNATIVES TRADE
                                     ASSOCIATION- WISCONSIN; OHIO VAPOR TRADE
                                     ASSOCIATION; RIGHT TO BE SMOKE-FREE COALITION;
                                     SMOKE FREE ALTERNATIVES TRADE ASSOCIATION;
                                     TENNESSEE SMOKE FREE ASSOCIATION; TEXAS VAPOR
                                     COALITION
        Appellate Case Number        19-2242
        Case Manager                 Kirsten Hancock
                                     804-916-2704
